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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Richmond Division
JOHN HALL,
Plaintiff,
v. Civil Action No. 3:18-cv-321
DOMINION ENERGY, INC., et al.,
Defendants.
ORDER

This matter comes before the Court on the plaintiff's motion to compel compliance with a
third-party subpoena duces tecum to System One Holdings, LLC (“System One”). (Dk. No. 70.)
In this case, the plaintiff, John Hall, has sued Dominion Energy, Inc. (“Dominion”), Virginia
Electric and Power Company, and Strategic Contract Resources, LLC. Hall contends that
Dominion applies a policy of underpayment for overtime work across its subsidiaries and vendors
in violation of the Fair Labor Standards Act (“FLSA”).

The Court has not yet certified this case as an opt-in class action under the FLSA. After
the Court denied Dominion’s motion for a protective order, the parties agreed to participate in
class-wide mediation. The parties also agreed to gather relevant pay data to facilitate mediation.!
To that end, Hall sought pay data and documents from System One, a Dominion vendor.

System One refuses to comply with Hall’s subpoena, citing individual arbitration

agreements with its workers. System One says that its workers cannot participate in this litigation

 

' See Dk. No. 66, at 2 (“Defendants will not object to or otherwise challenge subpoenas issued by
Plaintiff. Notwithstanding the deadline, and with the aim of facilitating the issuance of pay record
subpoenas to non-cooperating staffing vendors by Plaintiff, Defendants will promptly notify
Plaintiff of non-cooperating vendors producing data on a rolling basis.”).
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because the arbitration agreements prevent the Court from issuing notice to its workers at the
conditional certification stage.”

Even if System One’s arbitration agreements preclude conditional certification, the Court
has not yet certified this case as an opt-in class action under the FLSA. Nor has System One
moved to compel arbitration in response to a motion for conditional certification. Cf Adams v.
Citicorp Credit Servs., Inc., 93 F. Supp. 3d 441, 456 (M.D.N.C. 2015) (granting in part the
employer’s motion to compel arbitration at the conditional certification stage). Instead, Hall seeks
the information from System One “[t]o facilitate mediation on a class wide basis” and agrees to
“destroy the documents if settlement is not reached.” (Dk. No. 71, at 1-2.)

Thus, the issue here is whether Hall may subpoena pay data from System One as part of
the parties’ efforts to resolve this case through class-wide mediation. Whether System One’s
arbitration agreements bar conditional certification is a question for another day. Because System
One’s reliance on the arbitration agreements is misplaced at this stage of the proceedings, the Court
GRANTS the motion to compel. Within five (5) days of this Order, System One shall respond to
the subpoena requests as limited by counsel for the plaintiff. (See Dk. No. 71, at 2.)

It is so ORDERED.

Let the Clerk send a copy of this Order to all counsel of record.

 

 

Date: 26 April 2019 tel eh:
Richmond, VA John A. Gibney, Jn/ / {
United States District Judge

 

 

 

 

2 See In re JPMorgan Chase & Co., 916 F.3d 494, 501 (Sth Cir. 2019) (“[D]istrict courts may not
send notice to an employee with a valid arbitration agreement unless the record shows that nothing
in the agreement would prohibit the employee from participating in the collective action.”). But
see Camara v. Mastro’s Rests. LLC, 340 F. Supp. 3d 46, 59 (2018), appeal docketed, No. 18-7167
(D.C. Cir.) (“The majority of district courts . . . have determined that the fact that some employees
‘have signed arbitration agreements does not preclude conditional certification’ as to all
employees.” (quoting Maddy v. Gen. Elec. Co., 59 F. Supp. 3d 675, 685 n.7 (D.N.J. 2014))).

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